     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08      Page 1 of 12




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA

         v.                                                  Criminal No.
                                                             3:05cr0058 (SRU)
 JOSE LUIS RODRIGUEZ

                  Ruling on Defendant’s Motions for Post-Conviction Relief

       On May 25, 2006, after two weeks of trial, a jury convicted Jose Luis Rodriguez of

conspiracy with intent to distribute five kilograms or more of a mixture or substance containing a

detectable amount of cocaine and/or 50 grams or more of a mixture or substance containing a

detectable amount of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846. The jury

found that Rodriguez was part of a drug ring headed by Alex Luna that distributed cocaine in and

around Danbury, Connecticut. Testimony and other evidence that the prosecution presented

indicated that Rodriguez worked closely with Jose Adames, a.k.a. “Ponpa,” and others in New

York City, transporting large quantities of cocaine to Connecticut for purchase by Luna. That

evidence further indicated that Rodriguez was primarily a driver for the drug ring, frequently

bringing Adames to Connecticut to meet with Luna and arrange or conduct purchases of “bricks”

of cocaine that would later be broken down and re-sold to both users and lower-level drug sellers

in the Danbury area.

       In the time since the jury convicted Rodriguez, he has filed a number of motions seeking

relief, primarily in the form either of a new trial or an acquittal as a matter of law. Rodriguez

contends that: (1) there is no evidence that he knowingly and intentionally joined the Luna

conspiracy, or was involved as more than a driver with no knowledge of the illicit nature of that

conspiracy; (2) the government did not comply with my order to file a bill of particulars and did
     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08      Page 2 of 12




not provide Rodriguez with adequate specificity regarding the charges against him; (3) in

violation of Federal Rules of Evidence 608(b) and 403, I allowed testimony regarding specific

instances of collateral conduct, namely, whether Rodriguez had ever handled narcotics; and (4)

because the Jencks Act permitted the government to withhold certain evidence from Rodriguez

until well into trial, the Jencks Act is unconstitutional. In addition, Rodriguez has moved for his

release pending sentencing.

       For the reasons discussed below, Rodriguez’s motions (docs. # 657, 661, 667, 796, 939)

are DENIED.

I.     Testimony of Officer Cuba and Maria Robles

       A.      Rule 608(b)

       Rodriguez argues in his motions that I improperly admitted testimony from Officer

Waldo Cuba of the New York Police Department and from Maria Robles. Both Robles and

Cuba testifed as rebuttal witnesses for the government following Rodriguez’s own testimony.

Robles testified that Rodriguez went with Adames to Connecticut once a week to deliver drugs to

Luna, that he discussed with her bringing cocaine from the Dominican Republic, Tr. 5/23 at p.

2045, ln. 10 - p. 2046, ln. 21, and that on two or three occasions, Rodriguez brought cocaine to

Danbury by himself, without Adames. Id. at p. 2047, ln. 20 - p. 2048, ln. 5. Cuba in turn testified

that, on March 30, 2005, he observed Rodriguez in possession of a small magnetic box

containing small bags of what appeared to be narcotics.1 Id. at p. 2071, ln. 15 - p. 2073, ln. 7.


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          It is important to note that Cuba had arrested Rodriguez in New York after observing
him handling narcotics. His testimony, however, was not introduced to prove a prior bad act or a
specific instance of conduct, but rather to contradict statements made by Rodriguez on the
witness stand. As I instructed the jury, “Mr. Cuba is here for purposes of providing testimony
intended to impeach or contradict the testimony given by Mr. Rodriguez. The activities that were

                                                 2
      Case 3:05-cr-00058-SRU           Document 1189          Filed 03/26/08      Page 3 of 12




That testimony, of Robles and Cuba, was properly admitted to impeach Rodriguez following

statements he made during his direct and cross-examination.

        The government, in its case-in-chief, presented testimony from several witnesses who

stated that Rodriguez regularly drove Adames to Connecticut for the purpose of conducting

large-quantity drug sales with Luna. On direct examination, Rodriguez’s attorney asked him if,

during the period between 2001 and 2004, he saw “any drug deliveries of any kind.” Id. at p.

1884, ln. 12-13. Rodriguez responded, “No, I never see no drugs. . . .” Id. at ln. 14. Rodriguez

later testified on direct that he never saw any “traps” used to hide and transport drugs in any

vehicles, id. at p. 1913, ln. 2-4, and that except for “a little problem” he “never got in trouble

before.” Id. at p. 1917, ln. 13-19.

        On cross-examination, following that testimony on direct, Rodriguez testified that he

never saw Adames selling drugs on the street, id. at p. 1945, ln. 6-9, and that during the time

period of the conspiracy alleged in his indictment Rodriguez never saw any drugs except for

marijuana, id. at p. 2030, ln. 2-6.

        Rodriguez now challenges the admissibility of testimony from Cuba and Robles under

Federal Rule of Evidence 608(b). That rule states:

        Specific instances of the conduct of a witness, for the purpose of attacking or supporting
        the witness' character for truthfulness, other than conviction of crime as provided in rule
        609, may not be proved by extrinsic evidence. They may, however, in the discretion of
        the court, if probative of truthfulness or untruthfulness, be inquired into on
        cross-examination of the witness (1) concerning the witness' character for truthfulness or
        untruthfulness, or (2) concerning the character for truthfulness or untruthfulness of


just testified to are outside the scope, that is, the time frame of the allegations of the indictment
and, therefore, may not be considered by you for purposes of deciding the substance of the
charges in the indictment but rather, can be considered only for purposes of impeaching Mr.
Rodriguez.” Tr. 5/23 at p. 2073, ln. 10-19.

                                                       3
     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08      Page 4 of 12




       another witness as to which character the witness being cross-examined has testified.

       The giving of testimony, whether by an accused or by any other witness, does not operate
       as a waiver of the accused's or the witness' privilege against self-incrimination when
       examined with respect to matters that relate only to character for truthfulness.

Although Rule 608(b) generally prohibits extrinsic evidence of specific instances of conduct, an

exception to that rule exists when evidence contradicts a witness’s testimony. Impeachment by

contradiction, as opposed to evidence of a witness’s character for truthfulness or untruthfulness,

is a permissible exception to the general proscription of Rule of 608(b). See, e.g., United States

v. Perez-Perez, 72 F.3d 224, 227 (1st Cir. 1995); United States v. Tarantino, 846 F.2d 1384,

1409 (D.C. Cir. 1988). As the Perez-Perez court stated,

       Of course, [the testimony in question] would not only have suggested that [the witness]
       was of bad character but would also have contradicted [his] own denials on the witness
       stand. Impeachment by contradiction is a recognized mode of impeachment not governed
       by Rule 608(b), but by common-law principles. But, again largely for reasons of
       efficiency, extrinsic evidence to impeach is only admissible for contradiction where the
       prior testimony being contradicted was itself material to the case at hand.

72 F.3d at 227 (Internal citations omitted). Similarly, the Tarantino court held that although

certain testimony was introduced “in order to impeach [a witness’s] credibility, the proposed

impeachment would not consist of showing specific instances of [that witness’s] conduct ( i.e.,

fraudulent or dishonest behavior) indicative of untruthfulness. We think it only this latter type of

evidence that Rule 608(b) addresses.” 846 F.2d at 1409 (citing United States v. Opager, 589

F.2d 799 (5th Cir. 1979) (Rule 608(b) applies solely to evidence showing a witness’s general

character for truthfulness)).

       Here, as in Perez-Perez and Tarantino, Waldo and Cuba gave testimony that impeached

Rodriguez’s testimony because it directly contradicted his statements on the witness stand, not



                                                 4
     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08      Page 5 of 12




because it showed specific instances of untruthful behavior or character. Consistent with the

caveat in Perez-Perez that prior testimony being contradicted was itself material to the case at

hand, Rodriguez’s testimony – that during the period of the alleged conspiracy he had never seen

drugs except for marijuana, never seen drug deliveries, and never seen a “trap” – was material to

the charges against Rodriguez and his alleged role in the Luna drug organization.

       In his memorandum in support of his motion for a new trial or acquittal, Rodriguez

argues that Cuba’s testimony should not have been admitted because “[t]he fact at issue here is

the unrelated, misdemeanor arrest of Mr. Rodriguez on a matter which is closed and for which

the record is sealed.” Mot. Dismissal at 4 (doc. # 667). As discussed above, that argument is

misplaced. “The fact at issue” to which Cuba’s testimony was relevant, as I instructed the jury,

was whether Rodriguez was truthful on the witness stand, not whether his prior arrest made it

more or less likely that Rodriguez had a character for untruthfulness.

       The cases that Rodriguez relies on support the proposition that, when a witness testifies to

certain facts, opposing counsel may introduce extrinsic evidence to impeach by contradiction.

That witness may not use Rule 608(b)’s prohibition on extrinsic evidence to prove specific

instances of untruthfulness as a shield, permitting him to testify falsely with no opportunity for

impeachment. Indeed, Rodriguez emphasizes in his brief that, as the court held in Walder v.

United States, 347 U.S. 62, 65 (1954), “there is hardly justification for letting the defendant

affirmatively resort to perjurious testimony in reliance on the Government’s disability to

challenge his credibility.” Further, the Walder court distinguished Walder from another case,

where the government attempted to open the door to certain extrinsic evidence by asking a

defendant on cross-examination if he had ever seen narcotics before. Id. at 66. Here, Rodriguez


                                                  5
     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08       Page 6 of 12




opened the door; the government did not.

       Rodriguez further argues that, as opposed to cases such as Walder, his testimony involved

no provable contradiction, and he did not offer to testify about the conduct that formed the basis

of Cuba’s and Robles’s rebuttal testimony. Mot. Dismissal at 8, 10. When Rodriguez made

broad statements regarding his exposure to drugs and drug deliveries, however, he testified about

facts that could be provably contradicted. Cuba’s and Robles’s testimony actually did contradict

that testimony.

       Because Rule 608(b) bars extrinsic evidence of specific instances of a witness’s character

for untruthfulness, and Robles and Cuba offered testimony to directly contradict statements

Rodriguez made on the witness stand rather than to prove specific instances of untruthfulness,

Rodriguez’s argument that admission of that testimony violated Rule 608(b) lacks merit.

       B.         Rule 403

       At trial and in his written submissions, Rodriguez argues that Robles’s and Cuba’s

testimony violated Rule 403 because the prejudicial effect of that testimony substantially

outweighed its probative value. Rodriguez himself took the stand and denied the evidence

offered by the government in its case-in-chief, making Rodriguez’s credibility the single most

important issue in his case. That Cuba’s and Robles’s testimony may have increased the

likelihood of a conviction does not, by itself, establish undue or unfair prejudice, and is not

grounds for a new trial. See, e.g., United States v. DeLillo, 620 F.2d 939, 947 n.2 (2d Cir. 1980)

(“The prejudice resulting to defendants from the fact that introduction of the evidence was

damaging to their case is, of course, not the kind of prejudice against which Fed.R.Evid. 403

protects defendants”).


                                                  6
      Case 3:05-cr-00058-SRU          Document 1189         Filed 03/26/08      Page 7 of 12




       C.      Rule 404(b)

       In addition to the reasons discussed above, Cuba’s testimony was properly admitted under

Rule 404(b), which states that:

       Evidence of other crimes, wrongs, or acts is not admissible to prove the character of a
       person in order to show action in conformity therewith. It may, however, be admissible
       for other purposes, such as proof of motive, opportunity, intent, preparation, plan,
       knowledge, identity, or absence of mistake or accident, provided that upon request by the
       accused, the prosecution in a criminal case shall provide reasonable notice in advance of
       trial, or during trial if the court excuses pretrial notice on good cause shown, of the
       general nature of any such evidence it intends to introduce at trial.

Under established Second Circuit precedent, “404(b) evidence” may be admissible “for any

purpose other than to show a defendant's criminal propensity.” United States v. Lombardozzi,

491 F.3d 61, 78 (internal quotation marks and citations omitted). Here, Rodriguez testified that

he never observed drug transactions and was never part of those transactions with Adames and

Luna. Cuba’s testimony was not offered to prove that Rodriguez had a prior drug arrest and was

therefore more likely to be guilty of the drug charges that he faced, but instead to contradict

statements Rodriguez made on direct and cross-examination.

II.    Evidence of Rodriguez’s Knowing Involvement in the Luna Organization

       Rodriguez contends that “with or without the testimony of Officer Cuba . . . there was

insufficient evidence to convict” him of the crime charged. Mot. Dismissal at 2. Reversal of

Rodriguez’s conviction “is warranted only if no rational factfinder could have found the crimes

charged proved beyond a reasonable doubt.” United States v. Gaskin, 364 F.3d 438, 459-60 (2d

Cir. 2004) (citing Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979)).

Throughout Rodriguez’s trial, witnesses testified consistent with the jury’s ultimate finding of

guilt. Rodriguez is correct that Officer Cuba was the only law enforcement officer to testify that


                                                  7
      Case 3:05-cr-00058-SRU             Document 1189          Filed 03/26/08        Page 8 of 12




he saw Rodriguez handle drugs, but even without that testimony, there was ample evidence for a

jury to find that Rodriguez knowingly participated in the Luna organization.

        Evidence that the government introduced at trial included physical surveillance conducted

by law enforcement agents, video of Rodriguez and Adames meeting at Luna’s apartment, and a

statement Rodriguez made post-arrest to federal law enforcement officials where he admitted

driving with Adames from New York to Connecticut for the purpose of selling large quantities of

drugs (and that he was present in New York when Luna would purchase kilogram quantities of

cocaine).

        Along with that evidence, numerous witnesses testified to Rodriguez’s involvement, in

drug deals, usually with Luna and Adames. Nelson Rosa testified that Rodriguez and Adames

would deliver drugs to Luna in Danbury, and otherwise was involved in drug sales with Luna and

his associates.2 Similarly, Jose Pena testified that Rodriguez was present for such drug

transactions.3 Nicky Carrasquillo testified that Rodriguez and Adames together made drug

deliveries to Luna on multiple occasions, that Rodriguez and Adames supplied Carrasquillo with

cocaine, and that Rodriguez and Adames on multiple occasions compressed cocaine as well.4



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          Tr. 5/11 at p. 395, ln. 6-23; p. 397, ln. 11-23; p. 415, ln. 14-25 (Rosa testified that on
certain occasions, after Adames told him to, Rodriguez would retrieve cocaine from his car to
bring to Luna); p. 419, ln. 17-22 (Rosa testified that Rodriguez received money for drugs on one
occasion in New York); p. 422, ln. 7-15 (Rosa testified that Rodriguez was present when powder
cocaine was “cooked” into crack cocaine on one occasion in Danbury); p. 428, ln. 14-21; p. 433,
ln. 3-24; p. 440, ln. 20 - p. 441, ln. 2; 5/15 at p. 568, ln. 15-21; p. 587, ln. 16-21.
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          Tr. 5/15 at p. 699, ln. 24 - p. 700, ln. 21; p. 710, ln. 15 - p. 711, ln. 8; p. 733, ln. 23 - p.
734, ln. 10.
        4
         Tr. 5/17 at p. 1185, ln. 7-12; p. 1196, ln. 13-15; p. 1202, ln. 17-18; p. 1204, ln. 25 - p.
1205, ln. 9; p. 1210, ln. 17-19; p. 1212, ln. 7 - p. 1213, ln. 7.

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       Case 3:05-cr-00058-SRU             Document 1189          Filed 03/26/08      Page 9 of 12




Joshua Febres provided similar testimony,5 as did Maria Robles (during the government’s case-

in-chief).6 Robles also testified that Rodriguez met with “Rubio,” an individual who various

testimony indicates was the New York source of cocaine for the Luna organization, and that

Rodriguez and Adames on at least one occasion took Luna’s place as the head of the drug

organization while Luna was on vacation.7

        Without going into specific details of each witness’s testimony, which would only serve

to belabor the point, the government introduced ample evidence, including testimony of

cooperating witness and coconspirators, to support Rodriguez’s conviction. Rodriguez

challenges the sufficiency of the evidence against him. A jury could have reasonably credited

Rodriguez’s testimony, and discredited the testimony of the witnesses against him, which was

thorough and capable. There was more than enough evidence, however, that if a jury credited the

witnesses against Rodriguez rather than his own testimony, it could have found him guilty

beyond a reasonable doubt. Indeed, that appears to be exactly what happened.

III.    The Government’s Bill of Particulars

        Prior to trial, and again during trial, Rodriguez and his co-defendants moved for an order

compelling the government’s production of a bill of particulars, so that they could be on notice of

and adequately defend against specific conduct that the government alleged. Docs. # 416, 580,




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            Tr. 5/18 at p. 1412, ln. 8-20; p. 1417, ln. 1-6.
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            Tr. 5/18 at p. 1472, ln. 15-17; p. 1475, ln. 5-25.
        7
            Tr. 5/22 at p. 1519, ln. 22-24; p. 1523, ln. 11-24; p. 1524, ln. 23 - p. 1525, ln. 3; p. 1542,
ln. 4-22.

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      Case 3:05-cr-00058-SRU          Document 1189          Filed 03/26/08      Page 10 of 12




617. I granted that motion on May 9, 2006.8 Doc. # 568. The government moved for me to

reconsider my order that they produce a bill of particulars, which I denied. Ultimately the

government produced a lengthy summary of alleged criminal activity that described, albeit

somewhat broadly, the conduct that the defendants were alleged to have committed as part of the

Luna conspiracy.

       Although the government did not provide a traditional bill of particulars, which would

have set forth more specific information concerning the allegations of the defendants’

involvement with the Luna conspiracy, the summary of evidence the government produced was

sufficient to satisfy the purpose of my order. In addition, although the government’s evidence

against the defendants, including Rodriguez, was at times far-reaching, review of the trial

transcript demonstrates a lack of the sort of unfair surprise that a bill of particulars guards

against. In other words, Rodriguez may have had a difficult time defending himself, but the vast

discovery the government provided, along with the somewhat narrower summary of criminal

activity, satisfied any concerns about unfair surprise and a lack of notice of evidence against him.

IV.    Constitutionality of the Jencks Act

       Rodriguez argues that, because the Jencks Act permitted the government to withhold

certain evidence from Rodriguez until well into trial, the Jencks Act is unconstitutional. I agree

with Rodriguez that, because the Jencks act permits the government to withhold inculpatory


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          As part of its argument against producing a bill of particulars, the government argued
that bills of particulars are rarely ordered in the District of Connecticut. In my experience, that is
true. Here, however, where multiple defendants were charged with participating in a years-long
conspiracy that included both identified and unidentified coconspirators, the defendants were
entitled to know of what conduct, specifically, they were being accused. The reasons for my
ordering a bill of particulars are set out more fully in my written ruling on that question as well as
in the trial transcript.

                                                  10
     Case 3:05-cr-00058-SRU           Document 1189         Filed 03/26/08       Page 11 of 12




evidence until deep into trial, defendants are frequently at a disadvantage and unable to

effectively counter certain evidence against them. Despite those concerns, the Supreme Court of

the United States and the Second Circuit have repeatedly held the Jencks Act constitutional. See,

e.g., Palermo v. United States, 260 U.S. 343, 353 n.11 (1959) (Jencks Act “does not reach any

constitutional barrier”); United States v. Simmons, 281 F.2d 354, 359 (2d Cir. 1960); see also

United States v. Aquart, No. 3:06cr160 (PCD), 2006 WL 2684304 at *5 (D. Conn. Sept. 19,

2006) (“As the Second Circuit has stated, unless and until the Supreme Court rules otherwise we

shall adhere to [our prior decisions] and hold that the enactment of [the Jencks Act] was a valid

exercise of Congressional power”) (internal citations and quotation marks omitted). Thus, clear

precedent forecloses the argument that the Jencks Act is unconstitutional.

V.     Rodriguez’s Motion for Release Pending Sentencing

       Rodriguez has moved for release pending sentencing. Congress has spoken on the

question of when a defendant, post-conviction, may be released pending sentencing. For an

individual convicted of a controlled substances offense such as Rodriguez, under 18 U.S.C. §

3143(a)(2),

       (2) The judicial officer shall order that a person who has been found guilty of an offense
       in a case described in subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142
       and is awaiting imposition or execution of sentence be detained unless--9

               (A)(i) the judicial officer finds there is a substantial likelihood that a motion for
               acquittal or new trial will be granted; or

               (ii) an attorney for the Government has recommended that no sentence of
               imprisonment be imposed on the person; and


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         18 U.S.C. § 3142(f)(1)(C) describes “an offense for which a maximum term of
imprisonment of ten years or more is prescribed in the Controlled Substances Act,” which
includes Rodrigez’s offense of conviction.

                                                     11
      Case 3:05-cr-00058-SRU         Document 1189         Filed 03/26/08     Page 12 of 12




               (B) the judicial officer finds by clear and convincing evidence that the person is
               not likely to flee or pose a danger to any other person or the community.

Here, for the reasons discussed above, I have denied Rodriguez’s motion for acquittal or a new

trial. In addition, the government has not recommended that no sentence of imprisonment be

imposed on Rodriguez. Because Rodriguez therefore fails to meet the requirements of either

subsection 3143(a)(2)(A)(i) or 3143(a)(2)(A)(ii), the statute binds me to deny his motion for

release pending sentencing.

VI.    Conclusion

       For the reasons discussed above, Rodriguez’s motions for a new trial or acquittal and for

release pending sentencing are DENIED.



       Dated at Bridgeport, Connecticut, this 25th day of March 2008.


                                                              /s/ Stefan R. Underhill
                                                                      Stefan R. Underhill
                                                                      United States District Judge




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